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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


RAYNE UPTON                                            CIVIL ACTION

VERSUS                                                 No. 21-407

RODNEY VICKNAIR, ET AL.                                SECTION: “J”(4)


                                     ORDER

      Considering the foregoing Motion in Limine (Rec. Doc. 181) filed by

Defendant the City of New Orleans and Plaintiff’s opposition (Rec. Doc. 190)

      IT IS HEREBY ORDERED that:

   1. Objection #1 is OVERRULED.

   2. Objection #2 is OVERRULED.

   3. Objection #3 is OVERRULED, with the caveat that Plaintiff will redact the

      transcripts to admit statements by Vicknair.

   4. Objection #4 is RESERVED UNTIL TRIAL.

   5. Objection #5 is OVERRULED.

   6. Objection #6 is OVERRULED.

   7. Objection #7 is OVERRULED.

      New Orleans, Louisiana, this 12th day of March, 2024.




                                      CARL J. BARBIER
                                      UNITED STATES DISTRICT JUDGE
